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   14   Tommie Hotel LLC; and 6421 Selma
        Wilcox Hotel LLC
   15
                               UNITED STATES DISTRICT COURT
   16
                              CENTRAL DISTRICT OF CALIFORNIA
   17
        RELEVANT GROUP LLC, a Delaware                   Case No.: 2:19-cv-05019-ODW-KS
   18   limited liability company; 6516
        TOMMIE HOTEL LLC, a Delaware                     DECLARATION OF
   19   limited liability company; and 6421              GRANVILLE C. KAUFMAN IN
        SELMA WILCOX HOTEL LLC, a                        SUPPORT OF PLAINTIFFS’
   20   California limited liability company,            REPONSE TO DEFENDANTS
                                                         SAEED NOURMAND’S AND THE
   21                 Plaintiffs,                        SUNSET LANDMARK
                                                         INVESTMENT, LLC’S MOTION
   22         v.                                         FOR SUMMARY JUDGMENT
   23   STEPHAN “SAEED” NOURMAND,                        Date:       June 13, 2022
        an individual; THE SUNSET                        Time:       1:30 p.m.
   24   LANDMARK INVESTMENT LLC, a                       Dept:       Courtroom 5D, Fifth Floor
        California limited liability company;            Before:     Hon. Otis D. Wright II
   25   NOURMAND & ASSOCIATES, a
        California corporation; and DOES 1-10,
   26   inclusive,
   27                 Defendants.
   28


           KAUFMAN DECLARATION IN SUPP. OF PLS.’ RESPONSE TO SUNSET DEFS.’ MOTION FOR SUMMARY JUDGMENT
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    1                   DECLARATION OF GRANVILLE C. KAUFMAN
    2         I, Granville C. Kaufman, declare as follows:
    3         1.       I am an attorney at law licensed in the State of California, and I am an
    4   associate in the law firm of Wilson Sonsini Goodrich & Rosati P.C. (“Wilson
    5   Sonsini”). I am counsel of record for plaintiffs Relevant Group, LLC (“Relevant”),
    6   1541 Wilcox Hotel LLC (“Wilcox”), 6516 Tommie Hotel LLC (“Tommie”), and
    7   6421 Selma Wilcox Hotel LLC (“Selma”) in the above-captioned matter. I have
    8   personal knowledge of the matters stated herein and, if called upon to do so, I could
    9   and would testify competently as to such matters.
   10         2.       Attached hereto as Exhibit 1 is a true and correct copy of Exhibit 4 to
   11   the April 27, 2022 deposition of Daniel Wright, which is an August 12, 2016 Request
   12   for Modification of Building Ordinances signed by Daniel Wright. See Exhibit 37
   13   at 58:10-19.
   14         3.       Attached hereto as Exhibit 2 is a true and correct copy of Exhibit 13 to
   15   the April 27, 2022 deposition of Daniel Wright, which is a July 13, 2018 letter from
   16   Daniel Wright to Mindy Nguyen, Jason Hernandez, and the Los Angeles Advisory
   17   Agency in the Los Angeles Department of City Planning and bears bates numbers
   18   REL114205 through REL114228. See Exhibit 37 at 117:16-21.
   19         4.       Attached hereto as Exhibit 3 is a true and correct copy of Exhibit 14 to
   20   the April 27, 2022 deposition of Daniel Wright, which is an August 10, 2018 letter
   21   from Daniel Wright to the Planning Commission of the Los Angeles Department of
   22   City Planning. See Exhibit 37 at 124:11-18.
   23         5.       Attached hereto as Exhibit 4 is a true and correct copy of excerpts of
   24   the April 20, 2021 deposition of Bruce Rothman.
   25         6.       Attached hereto as Exhibit 5 is a true and correct copy of aMarch 11,
   26   2015 email from Michael Nourmand to Sarah Gould, Karen Lewis, Howard Lorey,
   27   Carolyn Rae Cole, Charlene Laraneta and others bearing bates numbers
   28   N&A_000416 through N&A_000417. At his April 28, 2022 deposition, Michael
                                                        -1-
           KAUFMAN DECLARATION IN SUPP. OF PLS.’ RESPONSE TO SUNSET DEFS.’ MOTION FOR SUMMARY JUDGMENT
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    1   Nourmand examined this document, wherein the foundation for this document was
    2   laid. See Exhibit 57 at 49:12-50:4. As of the date of this declaration, the stamped
    3   exhibit was not available.
    4         7.      Attached hereto as Exhibit 6 is a true and correct copy of Exhibit 8 to
    5   the April 22, 2022 deposition of Saeed Nourmand, which is a March 11, 2015 email
    6   from Karen Lewis bearing bates numbers N&A_000377 through N&A_000378. See
    7   140:17-142:2.
    8         8.      Attached hereto as Exhibit 7 is a true and correct copy of a March 3,
    9   2015 email from Sarah Gould to Carolyn Rae Cole bearing bates numbers
   10   N&A_000425 through N&A_000426. This document was produced by defendants.
   11         9.      Attached hereto as Exhibit 8 is a true and correct copy of a March 17,
   12   2015 email from Howard Nourmand to Sarah Gould bearing bates numbers
   13   SUNSET_00002129 through SUNSET_00002130. This document was produced
   14   by defendants.
   15         10.     Attached hereto as Exhibit 9 is a true and correct copy of a March 11,
   16   2015 email from Sarah Gould to Libby Lacsha, Karen Lewis, Howard Lorey,
   17   Carolyn Rae Cole, Charlene Laraneta, and Michael Nourmand bearing bates number
   18   SUNSET_00000150. This document was produced by defendants.
   19         11.     Attached hereto as Exhibit 10 is a true and correct copy of a September
   20   8, 2015 email from Mohamad Iravani to Saeed Nourmand bearing bates number
   21   SUNSET_00000305. This document was produced by defendants.
   22         12.     Attached hereto as Exhibit 11 is a true and correct copy of an October
   23   29, 2015 email from Rachelle DeCastro to Saeed Nourmand bearing bates numbers
   24   SUNSET_00004365 through SUNSET_00004368. This document was produced
   25   by defendants.
   26         13.     Attached hereto as Exhibit 12 is a true and correct copy of Exhibit 27
   27   to the April 22, 2022 deposition of Saeed Nourmand, which is an email dated
   28

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           KAUFMAN DECLARATION IN SUPP. OF PLS.’ RESPONSE TO SUNSET DEFS.’ MOTION FOR SUMMARY JUDGMENT
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    1   January 13, 2017 from Mohamad Iravani to jpatel@zuberlaw.com bearing bates
    2   number SUNSET_00000349. See Exhibit 29 at 261:10-16.
    3         14.     Attached hereto as Exhibit 13 is a true and correct copy of Exhibit 2 to
    4   the April 25, 2022 deposition of Allen Shamooilian, which is an email from Allen
    5   Shamooilian to Oliver Netburn bearing bates numbers SUNSET_00001540 through
    6   SUNSET_00001542. See Exhibit 34 at 24:20-25:16.
    7         15.     Attached hereto as Exhibit 14 is a true and correct copy of Exhibit 7 of
    8   the April 22, 2022 deposition of Saeed Nourmand, which is a March 11, 2015 email
    9   from Kevin Keller to Ashley Atkinson bearing bates numbers AR042872 through
   10   AR042877. See Exhibit 29 at 131:19-25.
   11         16.     Attached hereto as Exhibit 15 is a true and correct copy of an August
   12   15, 2018 email from David Schwartzman to Saeed Nourmand bearing bates number
   13   SUNSET_00001334. At his May 2, 2022 deposition, Jayesh Patel was examined on
   14   the document bearing these bates numbers, wherein foundation for the document
   15   was laid. See Exhibit 56 at 271:22-2. As of the date of this declaration, only the
   16   rough deposition transcript was available to Plaintiffs and the stamped exhibit was
   17   not available.
   18         17.     Attached hereto as Exhibit 16 is a true and correct copy of a February
   19   10, 2018 email from Michael Nourmand to Saeed Nourmand bearing bates numbers
   20   SUNSET_00001284 through SUNSET_00001285.                          At his April 28, 2022
   21   deposition, Michael Nourmand examined this document, wherein the foundation for
   22   this document was laid. See Exhibit 57 at 105:21-107:14. As of the date of this
   23   declaration, the stamped exhibit was not available.
   24         18.     Attached hereto as Exhibit 17 is a true and correct copy of Exhibit 15(a)
   25   from the April 26, 2022 deposition of Mohamad Iravani, December 10, 2018 from
   26   Deloitte Tax LLP to Saeed Nourmand Tax Files bearing bates numbers
   27   SUNSET_00000511 through SUNSET_00000543. See Exhibit 30 at 101:19-102:4.
   28

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           KAUFMAN DECLARATION IN SUPP. OF PLS.’ RESPONSE TO SUNSET DEFS.’ MOTION FOR SUMMARY JUDGMENT
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    1         19.     Attached hereto as Exhibit 18 is a true and correct copy of a June 27,
    2   2017 email from Jayesh Patel to Saeed Nourmand bearing bates numbers
    3   SUNSET_00001118 through SUNSET_00001121. This document was produced
    4   by defendants.
    5         20.     Attached hereto as Exhibit 19 is a true and correct copy of Exhibit 38
    6   to the May 4, 2022 deposition of Saeed Nourmand, which is a July 13, 2017 letter
    7   from Jayesh Patel to Guy Maisnik bearing bates numbers REL114405 through
    8   REL11407. See Exhibit 36 at 381:11-382:5.
    9         21.     Attached hereto as Exhibit 20 is a true and correct copy of a February
   10   3, 2016 Official Action of the Los Angeles City Council with bates number
   11   REL033644. This document bears the seal of the City of Los Angeles and has a
   12   signature of a City Clerk, thus qualifying as a self-authenticating document under
   13   FED. R. EVID. 902.
   14         22.     Attached hereto as Exhibit 21 is a true and correct copy of excerpts
   15   from the Expert Report of Richard Grassetti.
   16         23.     Attached hereto as Exhibit 22 is a true and correct copy of a May 4,
   17   2015 email from Allen Shamooilian to Saeed Nourmand bearing bates numbers
   18   SUNSET_00002654 through SUNSET_00002655. This document was produced
   19   by defendants.
   20         24.     Attached hereto as Exhibit 23 is a true and correct copy of Exhibit 3
   21   from the March 18, 2022 deposition of Guy Maisnik, which is a July 6. 2017 email
   22   from Guy Maisnik to Jayesh Patel bearing bates numbers MAISNIK_001632
   23   through MAISNIK_001638. See Exhibit 24 at 107:24-108:6.
   24         25.     Attached hereto as Exhibit 24 is a true and correct copy of excerpts
   25   from the March 18, 2022 deposition of Guy Maisnik.
   26         26.     Attached hereto as Exhibit 25 is a true and correct copy of a July 14,
   27   2018 email from Laurent Opman to Richard Heyman bearing bates number
   28   REL084850.
                                                        -4-
           KAUFMAN DECLARATION IN SUPP. OF PLS.’ RESPONSE TO SUNSET DEFS.’ MOTION FOR SUMMARY JUDGMENT
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    1          27.    Attached hereto as Exhibit 26 is a true and correct copy of Exhibit 26A
    2   from the April 22, 2022 deposition of Saeed Nourmand, which is a December 7,
    3   2016 letter from Richard Heyman to Saeed Nourmand bearing bates numbers
    4   REL001658 through REL001658. See Exhibit 29 at 256:3-17.
    5          28.    Attached hereto as Exhibit 27 is a true and correct copy of Exhibit 30
    6   from the April 22, 2022 deposition of Saeed Nourmand, which is an April 7, 2017
    7   email from Saeed Nourmand to Mohamad Iravani bearing bates number
    8   SUNSET_00000419. See Exhibit 29 at 267:11-19.
    9          29.    Attached hereto as Exhibit 28 is a true and correct copy of Exhibit 11
   10   of the April 20, 2022 deposition of Robert Silverstein, which is a May 12, 2017 letter
   11   from    Matthew      Hinks      to    Robert     Silverstein     bearing     bates    numbers
   12   SUNSET_00001001 through SUNSET_00001005. See Exhibit 38 at 116:4-7.
   13          30.    Attached hereto as Exhibit 29 is a true and correct copy of excerpts of
   14   the April 22, 2022 deposition of Saeed Nourmand.
   15          31.    Attached hereto as Exhibit 30 is a true and correct copy of excerpts of
   16   the April 26, 2022 deposition of Mohamad Iravani.
   17          32.    Attached hereto as Exhibit 31 is a true and correct copy of excerpts
   18   from the April 19, 2022 deposition of Richard Heyman.
   19          33.    Attached hereto as Exhibit 32 is a true and correct copy of excerpts
   20   from the March 8, 2022 deposition of Grant King.
   21          34.    Attached hereto as Exhibit 33 is a true and correct copy of Exhibit 13
   22   to the April 26, 2022 deposition of Mohamad Iravani, which is a February 27, 2018
   23   email from Mohamad Iravani to Andrew Shayne bearing bates numbers
   24   SUNSET_00000453 through SUNSET_00000455. See Exhibit 30 at 84:21-85:10.
   25          35.    Attached hereto as Exhibit 34 is a true and correct copy of excerpts of
   26   the April 25, 2022 deposition of Allen Shamooilian.
   27          36.    Attached hereto as Exhibit 35 is a true and correct copy of Exhibit 1 to
   28   the April 25, 2022 deposition of Allen Shamooilian, which is a February 23, 2015
                                                        -5-
           KAUFMAN DECLARATION IN SUPP. OF PLS.’ RESPONSE TO SUNSET DEFS.’ MOTION FOR SUMMARY JUDGMENT
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    1   email from Saeed Nourmand to Allen Shamooilian bearing bates number
    2   SUNSET_00001503. See Exhibit 34 at 19:10-20.
    3            37.   Attached hereto as Exhibit 36 is a true and correct copy of excerpts of
    4   the May 4, 2022 deposition of Saeed Nourmand.
    5            38.   Attached hereto as Exhibit 37 is a true and correct copy of excerpts of
    6   the April 27, 2022 deposition of Daniel Wright. During this deposition, Defendants’
    7   and/or the witnesses’ counsel instructed the witness not to answer on grounds of
    8   attorney-client privilege and/or attorney work product more than 200 times.
    9            39.   Attached hereto as Exhibit 38 is a true and correct copy of excerpts
   10   from the April 20, 2022 deposition of Robert Silverstein. During this deposition,
   11   Defendants’ and/or the witnesses’ counsel instructed the witness not to answer on
   12   grounds of attorney-client privilege and/or attorney work product more than 150
   13   times.
   14            40.   Attached hereto as Exhibit 39 is a true and correct copy of Exhibit 5 to
   15   the April 27, 2022 deposition of Daniel Wright, which is a May 31, 2017 Central
   16   Area Planning Commission Letter of Determination. See Exhibit 37 at 62:13-25;
   17   65:16-23.
   18            41.   Attached hereto as Exhibit 40 is a true and correct copy of Exhibit 16
   19   to the April 27, 2022 deposition of Daniel Wright, which is a December 10, 2018
   20   email from Casey Maddren to Veronica Lebron bearing bates numbers
   21   SILVERSTEIN000392 through SILVERSTEIN000397.                            See Exhibit 37 at
   22   135:22-136:8.
   23            42.   Attached hereto as Exhibit 41 is a true and correct copy of Exhibit 18
   24   to the April 27, 2022 deposition of Daniel Wright, which is a January 2, 2019 email
   25   from Casey Maddren to Dan Wright bearing bates numbers SILVERSTEIN006473
   26   through SILVERSTEIN006475. See Exhibit 37 at 146:14-147:21.
   27            43.   Attached hereto as Exhibit 42 is a true and correct copy of Exhibit 15
   28   to the April 27, 2022 deposition of Daniel Wright, which is a December 7, 2018
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    1   email from Dan Wright to cmaddren@gmail.com bearing bates numbers
    2   SILVERSTEIN004896 through SILVERSTEIN004906.                            See Exhibit 37 at
    3   131:16-132:5.
    4         44.     Attached hereto as Exhibit 43 is a true and correct copy of a March 12,
    5   2015 email from Michael Nourmand to John Tronson and Saeed Nourmand bearing
    6   bates numbers SUNSET_00002100 through SUNSET_00002101. This document
    7   was produced by defendants.
    8         45.     Attached hereto as Exhibit 44 is a true and correct copy of an April 28,
    9   2015 email from Scott Campbell to Saeed Nourmand bearing bates number
   10   SUNSET_00002638. This document was produced by defendants.
   11         46.     Attached hereto as Exhibit 45 is a true and correct copy of a March 2,
   12   2015 email from Allen Shamooilian to Saeed Nourmand bearing bates numbers
   13   SUNSET_00001661 through SUNSET_00001662. This document was produced
   14   by defendants.
   15         47.     Attached hereto as Exhibit 46 is a true and correct copy of Exhibit 8 to
   16   the March 8, 2022 deposition of Grant King, which is a May 4, 2015 email from
   17   Scott Campbell to Saeed Nourmand. See Exhibit 32 at 272:4-6.
   18         48.     Attached hereto as Exhibit 47 is a true and correct copy of excerpts
   19   from the April 1, 2022 deposition of Matthew Hinks.
   20         49.     Attached hereto as Exhibit 48 is a true and correct copy of Exhibit 4 to
   21   the April 1, 2022 deposition of Matthew Hinks, which is an April 21, 2017 email
   22   from Matt Hinks to Arthur Friedman. See Exhibit 47 at 78:3-10.
   23         50.     Attached hereto as Exhibit 49 is a true and correct copy of excerpts
   24   from Exhibit 12 to the April 27, 2022 deposition of Daniel Wright, which is a
   25   transcript from the July 12, 2018 hearing before the Los Angeles City Planning
   26   Commission. See Exhibit 37 at 113:5-114:19.
   27         51.     Attached hereto as Exhibit 50 is a true and correct copy of excerpts of
   28   the April 28, 2022 deposition of Richard Heyman.
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           KAUFMAN DECLARATION IN SUPP. OF PLS.’ RESPONSE TO SUNSET DEFS.’ MOTION FOR SUMMARY JUDGMENT
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    1            52.     Attached hereto as Exhibit 51 is a true and correct copy of Exhibit 10
    2   to the April 27, 2022 deposition of Daniel Wright, which is a March 23, 2018 letter
    3   from Daniel Wright to May Sirinopwongsagon and the Advisory Agency of the Los
    4   Angeles Department of City Planning bearing bates numbers REL114097 through
    5   REL114120. See Exhibit 37 at 101:7-24.
    6            53.     Attached hereto as Exhibit 52 is a true and correct copy of Exhibit 12
    7   to the April 15, 2022 deposition of Casey Maddren, which is a June 4, 2019 email
    8   from Casey Maddren to Dan Wright and Robert Silverstein bearing bates numbers
    9   SILVERSTEIN007191 through SILVERSTEIN007193. See Exhibit 54 at 89:14-
   10   18.
   11            54.     Attached hereto as Exhibit 53 is a true and correct copy of Exhibit 13
   12   to the April 15, 2022 deposition of Casey Maddren, which is a June 6, 2019 email
   13   from Casey Maddren to Dan Wright and Robert Silverstein bearing bates numbers
   14   SILVERSTEIN000754 through SILVERSTEIN000758. See Exhibit 54 at 93:1-14.
   15            55.     Attached hereto as Exhibit 54 is a true and correct copy of excerpts of
   16   the April 15, 2022 deposition of Casey Maddren.
   17            56.     Attached hereto as Exhibit 55 is a true and correct copy of a redline
   18   comparison between a March 23, 2018 sent from Daniel Wright to May
   19   Sirinopwongsagon and letter and a July 13, 2018 letter sent from Daniel Wright to
   20   Mindy Nguyen and Jason Hernandez. At his May 2, 2022 deposition, Jayesh Patel
   21   was examined on the document bearing these bates numbers, wherein foundation for
   22   the document was laid. See Exhibit 56 at 257:24-258:5. As of the date of this
   23   declaration, only the rough deposition transcript was available to Plaintiffs and the
   24   stamped exhibit was not available.
   25            57.     Attached hereto as Exhibit 56 is a true and correct copy of excerpts
   26   from the rough transcript of the May 2, 2022 deposition of Jayesh Patel. As of the
   27   date of this declaration, Plaintiffs only have access to the rough transcript of Mr.
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              KAUFMAN DECLARATION IN SUPP. OF PLS.’ RESPONSE TO SUNSET DEFS.’ MOTION FOR SUMMARY JUDGMENT
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    1   Patel’s deposition because the court reporter has been unable to timely submit final
    2   versions due to personal circumstances.
    3         58.     Attached hereto as Exhibit 57 is a true and correct copy of excerpts of
    4   the April 28, 2022 deposition of Michael Nourmand.
    5         I declare under penalty of perjury under the laws of the United States of
    6   America that the foregoing is true and correct.
    7         Executed in San Diego, California this 23d day of May 2022.
    8
                                                  /s/ Granville C. Kaufman_______
    9                                                 Granville C. Kaufman
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           KAUFMAN DECLARATION IN SUPP. OF PLS.’ RESPONSE TO SUNSET DEFS.’ MOTION FOR SUMMARY JUDGMENT
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